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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS
                                   SPRINGFIELD DIVISION

MASSACHUSETTS FAIR HOUSING
  CENTER,
HOUSING WORKS, INC.,
       Plaintiffs,                                      No. 3:20-cv-11765-MGM
                v.                                      The Hon. Mark G. Mastroianni
U.S. DEPARTMENT OF HOUSING AND
   URBAN DEVELOPMENT,
BEN CARSON, Secretary of the U.S.
  Department of Housing and Urban
  Development,
       Defendants.

                 DEFENDANTS’ THIRD UNOPPOSED MOTION TO
              EXTEND TIME TO RESPOND TO PLAINTIFFS’ COMPLAINT
       Pursuant to Fed. Rule Civ. P. 7(a) and L.R. 7.1, Defendants move unopposed for a 30-day

extension of time to respond to Plaintiffs’ Complaint. In support of this motion, Defendants state as

follows:

       1.       Plaintiffs served their Summons and Complaint on the U.S. Attorney for the District

of Massachusetts on October 1, 2020. See Summons & Compl., ECF No. 1. Defendants’ current

deadline to respond to Plaintiffs’ Complaint is January 15, 2021. See Order, ECF No. 36.

       2.       Plaintiffs challenge Defendants issuance of a final rule and have sought a stay of the

effective date of that rule pursuant to 5 U.S.C. § 705. See U.S. Dep’t of Hous. & Urban Devel.

(“HUD”), HUD’s Implementation of the Fair Housing Act’s Disparate Impact Standard (“Final

Rule”), 85 Fed. Reg. 60288 (Sept. 24, 2020); Pls.’ Mot. for Prelim. Inj. Under 5 U.S.C. § 705 to

Postpone Effective Date of HUD’s Final Rule (“Pls.’ Stay Mot.”); ECF No. 11.

       3.       On October 25, 2020, this Court issued an order granting Plaintiffs’ Stay Motion and

staying the effective date of the Final Rule. See Order, ECF No. 29. On December 23, 2020,

Defendants filed a notice of appeal of this Court’s Order. See Defs.’ Not. of Appeal, ECF No. 33.


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       4.      In light of the current posture of this case, Defendants have determined that it would

be premature to respond Plaintiffs’ Complaint at this time. Accordingly, Defendants seek a 30-day

extension of time to respond to Plaintiffs’ Complaint. This is Defendants’ third extension motion for

this response date.

       5.      Defendants conferred with Plaintiffs about this motion pursuant to L.R. 7.1(a)(2).

Plaintiffs do not oppose this motion.

                                          CONCLUSION

       For good cause shown herein, this Court should grant Defendants’ unopposed motion to

extend their time to respond to Plaintiffs’ Complaint by 30 days. A proposed order is attached.

Dated: January 12, 2021

                                              Respectfully submitted,

                                              JEFFREY BOSSERT CLARK
                                              Acting Assistant Attorney General

                                              LESLEY FARBY
                                              Assistant Branch Director

                                              s/ James D. Todd, Jr.
                                              JAMES D. TODD, JR.
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                        L.R. 7.1(a)(2) CERTIFICATE OF CONFERENCE

       Pursuant to L.R. 7.1(a)(2), Defendants conferred with Plaintiffs about this motion. Plaintiffs
do not oppose this motion.

                                          s/ James D. Todd Jr.
                                         JAMES D. TODD, JR.


                                    CERTIFICATE OF SERVICE

         Pursuant to Fed. R. Civ. P. 5(b)(2)(E), Defendants effected service of this filing on all other
parties to these actions by filing it with the Court’s electronic filing system.

                                          s/ James D. Todd Jr.
                                         JAMES D. TODD, JR.




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